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                              Case No. 23-60069


             IN THE UNITED STATES COURT OF APPEALS
                      FOR THE FIFTH CIRCUIT


State of Texas; Texas Commission on Environmental Quality; Luminant Generation
Company, L.L.C.; Coleto Creek Power, L.L.C.; Ennis Power Company, L.L.C.;
Hays Energy, L.L.C.; Midlothian Energy, L.L.C.; Oak Grove Management
Company, L.L.C.; Wise County Power Company, L.L.C.; Association of Electric
Companies of Texas; BCCA Appeal Group; Texas Chemical Council; Texas Oil &
Gas Association; Public Utility Commission of Texas; Railroad Commission of
Texas; State of Mississippi; Mississippi Department of Environmental Quality;
Mississippi Power Company; State of Louisiana; Louisiana Department of
Environmental Quality; Entergy Louisiana, L.L.C.; Louisiana Chemical
Association; Mid-Continent Oil and Gas Association; Louisiana Electric Utility
Environmental Group, L.L.C.; Texas Lehigh Cement Company, LP,

                                                      Petitioners,

                                       v.

United States Environmental Protection Agency; Michael S. Regan, Administrator,
United States Environmental Protection Agency,

                                                      Respondents.


                              Petition for Review
                     U.S. Environmental Protection Agency
                    88 Fed. Reg. 9336, 9356 (Feb. 13, 2023)


            BRIEF OF LOUISIANA INDUSTRY PETITIONERS


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Chemical Association, Louisiana Mid-
Continent Oil and Gas Association,
and Louisiana Electric Utility
Environmental Group LLC*

(* o/b/o participating members Cleco
Corporate Holdings LLC, Louisiana
Energy & Power Authority, and
Lafayette Public Power Authority)
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                CERTIFICATE OF INTERESTED PERSONS

                               Case No. 23-60069
           Petition for Review, U.S. Environmental Protection Agency
                     88 Fed. Reg. 9336, 9356 (Feb. 13, 2023)

      The undersigned counsel of record certifies that the following listed persons

and entities as described in the fourth sentence of Fifth Circuit Rule 28.2.1 have an

interest in the outcome of this case. These representations are made so that the

Judges of this Court may evaluate possible disqualification or recusal.

    Air Alliance Houston (Attempted Intervenor)

    Baake, David R. (Counsel for Amicus Curiae New Mexico Environmental
     Department)

    Baake Law, LLC (Counsel for Amicus Curiae New Mexico Environment
     Department)

    Baker Botts L.L.P. (Counsel for Petitioner Entergy Louisiana, LLC)

    Burdette, Courtney (Counsel for Petitioner, Louisiana Department of
     Environmental Quality)

    Clark, Jill Carter (Counsel for Petitioner, Louisiana Department of
     Environmental Quality)

    Diaz, Daria Burgess (Counsel for Louisiana Public Service Commission,
     Attempted Intervenor)

    Downwinders at Risk (Attempted Intervenor)

    Entergy Corporation (Parent company of Entergy Utility Holding Company,
     LLC, which is the direct holder of the common membership interests of
     Petitioner Entergy Louisiana, LLC)

    Entergy Louisiana, LLC (Petitioner)


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       Entergy Louisiana, LLC is an indirect subsidiary of Entergy Corporation.
Entergy Corporation is the direct and indirect holder of the common membership
interests of Entergy Utility Holding Company, LLC, which is the sole holder of the
common membership interests of Entergy Louisiana, LLC. The common stock of
Energy Corporation is publicly traded and listed on the New York Stock Exchange.
Entergy Corporation has no parent company, and no publicly held company has a
ten percent or greater ownership interest in Entergy Corporation.

    Entergy Utility Holding Company, LLC (Direct holder of the common
     membership interests of Petitioner Entergy Louisiana, LLC)

    Garland, Merrick B., Attorney General, United States Department of
     Justice (Counsel for Respondents)

    Hall, Machelle Rae Lee (Counsel for Petitioners, State of Louisiana and
     Louisiana Department of Environmental Quality)

    Harbourt, Maureen (Counsel for Petitioners, Louisiana Chemical
     Association, Louisiana Mid-Continent Oil and Gas Association and Louisiana
     Electric Utility Environmental Group LLC)

    Izfar, Sarah (Counsel for Respondent United States Environmental
     Protection Agency)

    Jezouit, Debra J. (Counsel for Petitioner Entergy Louisiana, LLC)

    Kean Miller LLP (Counsel for Petitioners Louisiana Chemical Association,
     Louisiana Mid-Continent Oil and Gas Association, and Louisiana Electric
     Utility Environmental Group LLC)

    Kim, Todd, Assistant Attorney General, Environment and Natural Resources
     Division, United States Department of Justice (Counsel for Respondents)

    Kollmeyer, Josiah. (Counsel for Petitioners, Louisiana Chemical
     Association, Louisiana Mid-Continent Oil and Gas Association and Louisiana
     Electric Utility Environmental Group LLC)

    Landry, Jeff, Attorney General, Louisiana Department of Justice
     (Counsel for Petitioners State of Louisiana and Louisiana Department of
     Environmental Quality)


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    Lee, Jin Hyung (Counsel for Respondents United States Environmental
     Protection Agency and Regan, Michael S.)

    Lee, C. Joshua (Counsel for Petitioner Entergy Louisiana, LLC)

    Louisiana Chemical Association (Petitioner)

      The Louisiana Chemical Association is a non-profit corporation. It does not
have a parent company. It does not have any publicly traded corporation who holds
more than 10% of its stock.

    Louisiana Department of Environmental Quality (Petitioner)

    Louisiana Electric Utility Environmental Group LLC, on behalf of its
     participating members, Cleco Corporate Holdings LLC, Louisiana
     Energy & Power Authority (“LEPA”), and Lafayette Public Power
     Authority (Petitioner)

      The Louisiana Electric Utility Environmental Group LLC is a limited liability
corporation. It does not have a parent corporation nor any publicly traded
corporation who holds more than 10% of its stock.

    Louisiana Mid-Continent Oil and Gas Association (Petitioner)

      The Louisiana Mid-Continent Oil and Gas Association is a non-profit
corporation. It does not have a parent company. It does not have any publicly traded
corporation who holds more than 10% of its stock.

    Louisiana Public Service Commission (Attempted Intervenor)

    McPhee, Jr., Shae Gary (Counsel for Petitioners, State of Louisiana and
     Louisiana Department of Environmental Quality)

    Murrill, Elizabeth Baker, Solicitor General, Louisiana Department of
     Justice (Counsel for Petitioners, State of Louisiana and Louisiana Department
     of Environmental Quality)

    Nance, Earthea (Regional Administrator for Respondent United States
     Environmental Protection Agency, Region 6)

    New Mexico Environment Department (Amicus Curiae)

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 Prieto, Jeffrey M. (General Counsel for Respondent United States
  Environmental Protection Agency)

 Regan, Michael S., Administrator, United States Environmental Protection
  Agency (Respondent)

 Rucinski, Lauren (Counsel for Petitioners, Louisiana Chemical Association,
  Louisiana Mid-Continent Oil and Gas Association and Louisiana Electric
  Utility Environmental Group LLC)

 Shelton, Dana M. (Counsel for Attempted Intervenor Louisiana Public
  Service Commission)

 Sierra Club (Attempted Intervenor)

 Smith, Joshua (Counsel for Attempted Intervenors Sierra Club, Air Alliance
  Houston, and Downwinders at Risk)

 St. John, Joseph Scott (Counsel for Petitioners, State of Louisiana and
  Louisiana Department of Environmental Quality)

 State of Louisiana (Petitioner)

 Stone Pigman Walther Wittmann (Counsel for Petitioner Louisiana Public
  Service Commission

 U. S. Environmental Protection Agency (Respondent)




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                                      Respectfully submitted,

                                      /s/ Maureen N. Harbourt
                                      Counsel for Petitioners Louisiana
                                      Chemical Association, Louisiana
                                      Mid-Continent Oil and Gas
                                      Association, and Louisiana Electric
                                      Utility Environmental Group, LLC*

                                      (* o/b/o participating members Cleco
                                      Corporate Holdings LLC, Louisiana
                                      Energy & Power Authority, and
                                      Lafayette Public Power Authority)

                                      /s/ Debra J. Jezouit
                                      Counsel for Petitioner Entergy
                                      Louisiana, LLC




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              STATEMENT REGARDING ORAL ARGUMENT

      Petitioners Louisiana Chemical Association, Louisiana Mid-Continent Oil

and Gas Association, Louisiana Electric Utility Environmental Group (specifically

for this lawsuit, consisting of Cleco Corporate Holdings LLC, Louisiana Energy &

Power Authority, and Lafayette Public Power Authority), and Entergy Louisiana,

LLC (collectively “Louisiana Industry Petitioners”) respectfully request 25 minutes

for oral argument.

      Oral argument will assist full consideration of the complicated legal and

factual issues in this matter, involving multiple states and a voluminous

administrative record. In addition, oral argument will assist the parties in addressing

any questions the Court may have concerning the Louisiana Interstate Transport

State Implementation Plan.




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                                GLOSSARY

APA                       Administrative Procedures Act

CAA or the Act            Clean Air Act

CAMx v6.40                Comprehensive Air Quality Model with Extensions
                          version 6.4

C.I.                      Certified Index of Record

DFW                       Dallas/Fort Worth

DV                        Ozone Design Value

EPA                       U.S. Environmental Protection Agency

FIP                       Federal Implementation Plan

HGB                       Houston/Galveston/Brazoria

HYSPLIT                   Hybrid Single Particle Lagrangian Integrated
                          Trajectory

LDEQ                      Louisiana Department of Environmental Quality

NAAQS                     National Ambient Air Quality Standards

NOx                       Nitrogen Oxides

Ppb                       parts per billion

RTC                       EPA’s Response to Comments

SIP                       State Implementation Plan

SMOKE                     Sparse Matrix Operator Kernel Emissions

VOC                       Volatile Organic Compound




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                           STATEMENT OF JURISDICTION

          This Court has jurisdiction to review the U.S. Environmental Protection

   Agency’s (“EPA”) disapproval of Louisiana’s State Implementation Plan pursuant

   to 42 U.S.C. § 7607(b)(1). Louisiana Industry Petitioners timely filed their petitions

   for review of EPA’s action in this Court within 60 days of publication of EPA’s

   action. See ECF Nos. 213 (Entergy Louisiana, LLC), 216 (Louisiana Chemical

   Association, Louisiana Mid-Continent Oil and Gas Association, and Louisiana

   Electric Utility Environmental Group).

          For the reasons stated in the Court’s Order dated May 1, 2023, this Court is

   the correct venue. See ECF No. 269-1 at 6–13.

                               STATEMENT OF ISSUES

  I.      Did EPA act unlawfully in disapproving Louisiana’s State Implementation
          Plan (“SIP”) by exceeding its role under the Clean Air Act’s SIP approval
          process?

 II.      Did EPA act unlawfully by considering factors not included in the Clean Air
          Act in its disapproval of Louisiana’s SIP?

III.      Did EPA act arbitrarily and capriciously in disapproving Louisiana’s SIP by
          doing any of the following?

        Resting its disapproval almost exclusively on post hoc modeling information;

        Rejecting without explanation an analysis provided by Louisiana after urging
         the state to use such approach; and

        Rejecting the weight of evidence used by Louisiana, which incorporated a
         variety of air quality factors, in favor of EPA’s approach, which relied
         exclusively on one set of modeling.


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                          STATEMENT OF THE CASE

      Louisiana Industry Petitioners challenge EPA’s disapproval of the State

Implementation Plan (“SIP”) that Louisiana submitted pursuant to the Clean Air Act

(“CAA” or “Act”) to address the interstate transport of ozone for the 2015 Ozone

National Ambient Air Quality Standards (“NAAQS”). See 88 Fed. Reg. 9336, 9356

(Feb. 13, 2023) (“Louisiana SIP Disapproval”). This Court granted the motion to

stay the Louisiana SIP Disapproval filed by petitioners the State of Louisiana and

the Louisiana Department of Environmental Quality (“LDEQ”) (collectively “State

of Louisiana Petitioners”). ECF No. 269. On review, Louisiana Industry Petitioners

seek to vacate EPA’s Louisiana SIP Disapproval.1

I.    Statutory Requirements

      “Congress chose a balanced scheme of state-federal interaction to implement

the goals of the [Clean Air] Act.” Fla. Power & Light Co. v. Costle, 650 F.2d 579,

581 (5th Cir. 1981). Within this structure, “air pollution control at its source is the

primary responsibility of States and local governments.” 42 U.S.C. § 7401(a)(3).




1
  Louisiana Industry Petitioners have briefed this Court on the background that
Petitioners have considered most relevant to their case. See Fed. R. App. P. 28(a)(6)
(requiring a “concise statement of the case”). At the same time, should this Court
deem other background information insightful in making its decision on the merits,
Louisiana Industry Petitioners also join, adopt, and incorporate by reference the
Statement of the Case presented by State of Louisiana Petitioners pursuant to Rule
28(i) of the Federal Rules of Appellate Procedure.

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      Putting this “cooperative federalism” framework into context, EPA first

establishes NAAQS for pollutants such as ozone, the air pollutant at issue here. See

42 U.S.C. § 7409(a), (b). NAAQS set the acceptable concentrations for a particular

air pollutant requisite to protect the “public health and welfare,” and EPA must

review the NAAQS every five years and revise them as appropriate. See id.

§§ 7408(a), 7409(b), (d)(1).

      Once NAAQS are established or revised by EPA, each state must submit to

EPA a new or revised SIP to enforce the NAAQS. Id. § 7410(a)(1). But, in doing

so, the CAA provides the state “wide discretion in formulating its plan” to achieve

the air quality standard set by EPA. See Union Elec. Co. v. EPA, 427 U.S. 246, 250

(1976).   Only if the SIP does not meet a statutory requirement may EPA

disapprove the SIP and then “devise and promulgate a specific plan of its own.”

Train v. NRDC, 421 U.S. 60, 79 (1975); see also Texas v. EPA, 690 F.3d 670, 676

(5th Cir. 2012) (“Thus, if a SIP or a revised SIP meets the statutory criteria of the

CAA, then the EPA must approve it.”).

      The statutory requirement most at issue here is what is commonly referred to

as the CAA’s “Good Neighbor” or “Interstate Transport” Provision. In general

terms, SIPs must contain “adequate provisions” to prohibit in-state emission

activities from hindering another state’s ability to comply with the NAAQS due to

the interstate transport of air pollution. See 42 U.S.C. § 7410(a)(2)(D)(i). Textually



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speaking, the CAA requires states to prohibit in-state emissions in amounts that

“contribute significantly to nonattainment in, or interfere with maintenance by, any

other State with respect to any such national primary or secondary ambient air

quality standard.” Id. Importantly, neither the statute nor any EPA regulation

defines the terms “contribute significantly to nonattainment”2 and “interfere with

maintenance.”

      Once a SIP is found to be complete, EPA “shall act” on the SIP by approving

or disapproving it (either in full or in part) within 12 months. See id. § 7410(k)(1)–

(3). To reiterate, “the Administrator shall approve [the SIP] as a whole if it meets

all of the applicable requirements of [the CAA].” Id. § 7410(k)(3) (emphasis added).

“Only if the state has not complied with the requirements of the Clean Air Act does

EPA assume the role of primary regulator . . . .” Texas v. EPA, 829 F.3d 405, 412

(5th Cir. 2016). In such a case, EPA must develop a Federal Implementation Plan

(“FIP”) within two years to establish the state’s requirements.            42 U.S.C.

§ 7410(c)(1). A FIP is intended “to fill all or a portion of a gap . . . in a State

implementation plan.” Id. § 7602(y).



2
  At best, the CAA only defines the term “nonattainment” as not meeting the
NAAQS, with no further clarification on what level of emissions would constitute
“contribute significantly” to such nonattainment. See 42 U.S.C. §§ 7407(d)(1)(A)(i),
7501(2) (defining “nonattainment area” as “an area which is designated
‘nonattainment,’” in which the area “does not meet . . . the [NAAQS] for the
pollutant”).

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II.   Factual Background

      A.     The Louisiana Transport SIP

      On October 1, 2015, EPA revised the NAAQS for ozone. 80 Fed. Reg. 65,292

(Oct. 26, 2015). This triggered Louisiana’s statutory obligation to revise its SIP. 42

U.S.C. § 7410(a)(1).

      On November 13, 2019, LDEQ submitted a SIP addressing the State of

Louisiana’s obligations with respect to the interstate transport of ozone for the 2015

Ozone NAAQS (“Louisiana Transport SIP”). C.I. R6-04.3 The Louisiana Transport

SIP ultimately concluded that well-controlled Louisiana emissions do not contribute

significantly to nonattainment in, or interfere with maintenance by, any other state.

The Louisiana Transport SIP reached this conclusion based on three key features.

      First, the SIP implemented a 3-step framework to assess whether a state

would significantly contribute to nonattainment or interfere with maintenance of a



3
  In this brief, “C.I.” refers to the Certified Index to the Administrative Record that
EPA filed on April 13, 2023, pursuant to Rule 17(b)(1)(B) of the Federal Rules of
Appellate Procedure. ECF No. 208. Documents are identiﬁed by the EPA ofﬁce
listed as the custodian of the documents after the ﬁrst hyphen in the “Document ID”
numbers on the certiﬁed index (either “HQ” for EPA headquarters or “R” for an EPA
regional ofﬁce, with a number indicating which regional ofﬁce), as well as the ﬁnal
four digits (minus leading zeros) of “Document ID” number. For example, the first
document listed in the Certified Index would be cited as C.I. HQ-20, and the second
document would be cited as C.I. R2-15. Pursuant to Fifth Circuit Rule 30.2(a), the
Louisiana Industry Petitioners will file an appendix containing the portions of the
record cited in their, the other parties’, and any amici’s briefs. The appendix will be
tabbed according to the citation format just described.

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NAAQS.      These three steps were: (1) “Identify monitors projected to be in

nonattainment or have maintenance issues in a future year”; (2) “Identify projected

nonattainment and/or maintenance monitors in other states that might be impacted

by emissions from Louisiana, tagging them for further review”; and (3) “Determine

if emissions from Louisiana contribute significantly to nonattainment or interfere

with maintenance at the monitors tagged for review in Step 2.” Id. at 11.

      Second, the Louisiana Transport SIP used models, data sets, and

methodologies that EPA approved and recommended through a series of Agency

guidance documents. EPA had approved states using the Agency’s initial modeling

and historical data, gathered by EPA from the years 2009 to 2013, so the LDEQ did

so. See Memorandum from Peter Tsirigotis, Director, Office of Air Quality Planning

and Standards, Information on the Interstate Transport State Implementation Plan

Submissions for the 2015 Ozone National Ambient Air Quality Standards Under

Clean Air Act Section 110(a)(2)(D)(i)(I) (Mar. 27, 2018) [hereinafter March 2018

Guidance], C.I. HQ-03 at 1–2, 6. And, upon assuring that states could “supplement

the information provided in this memorandum,” id. at 6, EPA later provided ozone

data for the years 2014 to 2016, which the LDEQ also incorporated. See Louisiana

Transport SIP, C.I. R6-04 at 5.

      Relatedly, the Louisiana Transport SIP incorporated EPA’s use of

contribution thresholds to assess whether the state’s emissions might affect monitors



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in other states (Step 2 of the SIP) in assessing nonattainment or interference with

maintenance. To illustrate, while EPA had generally used 1% of the NAAQS as the

screening threshold, the Agency also admitted: “for the 2015 Ozone NAAQS, the

amount of upwind collective contribution captured using a 1 ppb [parts per billion]

threshold is generally comparable to the amount captured using a threshold

equivalent to 1 percent of the NAAQS.” See Memorandum from Peter Tsirigotis,

Director, Office of Air Quality Planning and Standards, Analysis of Contribution

Thresholds for use in Clean Air Act Section 110(a)(2)(D)(i)(I) Interstate Transport

State Implementation Plan Submissions for the 2015 Ozone National Ambient Air

Quality Standards (Aug. 31, 2018) [hereinafter August 2018 Guidance], C.I. HQ-04

at 3–4. Accordingly, LDEQ applied the above-mentioned “1 ppb” contribution

threshold to identify potential upwind states’ monitors that might be affected by

Louisiana’s emissions.

      Third, the Louisiana Transport SIP incorporated feedback from EPA Region

6. EPA Region 6 commented on a variety of issues, such as asking LDEQ to

“[i]dentify the 2023 nonattainment and maintenance receptors.” C.I. R6-04 at 28.

In each of the comments, LDEQ provided its response and supplemental actions.

For example, answering EPA Region 6’s request to “[i]mprove and support

alternative techniques to assess the significance of contributions,” LDEQ “added

back trajectories for 99 exceedances at the receptors for the 2016-2018 ozone



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season.” Id. For context, a back trajectory analysis assists in ruling out areas of a

state that are clearly not significantly contributing to a receptor, by showing whether

an air parcel traveled over an area of a state where emissions originate. See 87 Fed.

Reg. 9798, 9815 (Feb. 22, 2022) (discussing how back trajectory analyses “estimate

the most likely route of an air parcel transported to a receptor”); see also Louisiana

Transport SIP, C.I. R6-04 at 13–14 (ruling out the farmland areas from the model

due to their “limited population and sources of [ozone] precursor pollutants”).

      In sum, by the time LDEQ submitted the Louisiana Transport SIP to EPA, the

SIP incorporated all the methodology and data available to the state—all of which

was provided and recommended by EPA. The Louisiana Transport SIP concluded,

based on EPA’s guidance, data, and other recommendations, that Louisiana sources

were not significantly contributing to nonattainment or interfering with maintenance

of a NAAQS at any of the monitors to which Louisiana sources were linked in the

second step of Louisiana’s analysis.

      Specifically, according to the Louisiana Transport SIP, EPA modeling

predicted that “Louisiana contributes approximately 1-2 ppb of ozone to the Dallas

region and 3-4ppb of ozone to the Houston region.” Id. at 13. At the same time,

upon accounting for EPA’s air monitoring data, declining ozone design values in the

state (below the 70 ppb NAAQS), significant and continuing reductions of ozone

precursors within the state, weather patterns and wind analysis, and the back



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trajectory analysis recommended by EPA, Louisiana determined that its contribution

was not “significant.” See id. at 12–14.

      B.     EPA’s Disapproval of the Louisiana Transport SIP

      On February 22, 2022, well over a year after the Agency was statutorily

required to act on the SIP, EPA sought disapproval of the Louisiana Transport SIP

in a proposed rulemaking that also addressed the other SIP submittals reviewed and

analyzed by EPA Region 6. 87 Fed. Reg. at 9811–16.

      In proposing to disapprove the SIPs, EPA relied on a “4-Step interstate

transport framework (or 4-Step framework).” The four steps are: (1) “Identify

monitoring sites that are projected to have problems attaining and/or maintaining the

NAAQS”; (2) “identify states that impact those air quality problems in other (i.e.,

downwind) states sufficiently such that the states are considered ‘‘linked’’ and

therefore warrant further review and analysis”; (3) “identify the emissions reductions

necessary (if any), applying a multifactor analysis, to eliminate each linked upwind

state’s significant contribution to nonattainment or interference with maintenance of

the NAAQS at the locations identified in Step 1”; and (4) “adopt permanent and

enforceable measures needed to achieve those emissions reductions.” Id. at 9799.

Notwithstanding the March 2018 Guidance’s support for “alternative approaches to

addressing [states’] interstate transport obligations,” EPA now claimed, in proposing

to disapprove the Louisiana Transport SIP, that deviation from this 4-step approach



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“must be substantially justified and have a well-documented technical basis that is

consistent with relevant case law.” Id. at 9801. In addition, despite identifying no

basis in the statute, the Agency explained that it was “apply[ing] a consistent set of

policy judgments across all states for purposes of evaluating interstate transport

obligations and the approvability of interstate transport SIP submittals for the 2015

ozone NAAQS.” Id. at 9801 (emphasis added); see also id. at 9812–13 (“[A]llowing

for alternative Step 2 thresholds may be impractical or otherwise inadvisable for a

number of additional policy reasons.”).

      Additionally, EPA changed its modeling from what had been available to the

states. The Louisiana Transport SIP relied on modeling data presented in the March

2018 Guidance, based on the October 2017 modeling announced in a Notice of Data

Availability. See id. at 9800. Yet, for its proposed disapproval of the Louisiana

Transport SIP, EPA relied upon “2016v2,” a modeling platform that was not released

until over three years after LDEQ already submitted its SIP. See id. at 9800, 9806,

9813. In fact, it was released only a mere month before EPA proposed to disapprove

the Louisiana Transport SIP.4 See 88 Fed. Reg. at 9366 (discussing model release

date of January 19, 2022). Predictably, as it used a different base year, different


4
  Although EPA first released 2016v2 on September 21, 2021, it was still soliciting
“stakeholder feedback.” States could not have been expected to rely on it until, at
the earliest, January 19, 2022, when EPA “released on [the Agency’s] website and
notified a wide range of stakeholders of the availability of both the modeling results
. . . along with many key underlying input files.” 88 Fed. Reg. at 9366.

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emissions inventory, and other different inputs, the updated 2016v2 modeling

platform changed the projected results. With different data and methodologies, EPA

identified new nonattainment and maintenance monitors in Texas linked to

Louisiana sources and at greater levels than the modeling available to Louisiana had

demonstrated. 87 Fed. Reg. at 9812–14 (compare Table LA-1, with Table LA-2).

      Louisiana Industry Petitioners and State of Louisiana Petitioners submitted

comments in protest of EPA’s analysis of the Louisiana Transport SIP. For example,

the comments raised how EPA has a narrow role in the SIP approval process, and

how the updated modeling platform used in the proposed disapproval (i.e., 2016v2)

was not available at the time LDEQ submitted its SIP. In addition, the comments

contested the validity of the 2016v2 model and the model’s underlying assumptions,

such as the model’s failure to account for closed sources, emission reduction

projects, or population decreases.     C.I. R6-38 (comment by Cleco Corporate

Holdings LLC); C.I. R6-29 (comment by Louisiana Electric Utility Environmental

Group LLC); C.I. R6-35 (comment by Entergy Louisiana, LLC); C.I. R6-31

(comment by LDEQ); C.I. R6-39 (comment by Louisiana Chemical Association).

      Notwithstanding the various concerns raised in the comments, EPA finalized

its Louisiana SIP Disapproval on February 13, 2023, along with its disapproval of

several more SIPs (“SIP Disapprovals”). EPA finalized the SIP Disapprovals more

than two years after its statutory deadline to act. 88 Fed. Reg. at 9356.



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      In its final Louisiana SIP Disapproval, EPA doubled down on its position in

several areas. In finalizing the adoption of the 4-step framework, EPA once again

expressed that “deviation from a nationally consistent approach . . . must be

substantially justified and have a well-documented technical basis.” Id. at 9340. In

fact, the Agency now found the alternative frameworks referenced in EPA’s own

former guidance “problematic” and “outdated.” See id. at 9342, 9373. And, because

the Agency disagreed with Louisiana’s alternative approach, EPA ignored the air

quality data submitted by LDEQ, including LDEQ’s back trajectory analysis despite

the fact that EPA Region 6 explicitly had asked for it. See id. at 9356.

      As to the change in the model used to disapprove the SIPs, EPA yet again

relied on data not available to LDEQ at the time it submitted the Louisiana Transport

SIP. Even worse, EPA now relied on a “2016v3” modeling platform, a further

modeling revision. Id. And although the Louisiana Industry Petitioners raised a

variety of concerns over the 2016v2 modeling platform, EPA largely failed to

adequately address them. Compare C.I. R6-39 at 10–16 (“EPA’s 2016v2 model

requires refining”), with EPA’s Response to Comments (“RTC”), C.I. HQ-83, at

103–07.

      Of note, EPA proposed a FIP to address interstate ozone transport for the 2015

Ozone NAAQS less than two months after the proposed Louisiana SIP Disapproval,

see 87 Fed. Reg. 20,036 (Apr. 6, 2022), and finalized the FIP about a month after



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the finalized SIP Disapprovals.5 The final FIP imposes emissions reductions on

several industry sectors, such as power plants, manufacturing, and refineries. As

expressed by the State of Louisiana, the FIP will impose significant costs throughout

the state. See ECF No. 112-1 at 16 (State of Louisiana Petitioners’ Motion to Stay).

The requirements of the FIP will go into effect 60 days after its publication in the

Federal Register.

III.   Procedural History

       Starting with the State of Texas, numerous entities have filed petitions for

review of the SIP Disapprovals for their corresponding states. See, e.g., ECF Nos.

1-1 (State of Texas), 52-1 (State of Mississippi), 63-1 (State of Louisiana).

Louisiana Industry Petitioners likewise filed their respective petitions for review.

See ECF Nos. 213-1, 216-1.

       Several petitioners, including State of Louisiana Petitioners, filed motions to

stay the SIP Disapprovals of their corresponding states pending judicial review.

E.g., ECF Nos. 31-1 (State of Texas Petitioners requesting stay of the Texas SIP

Disapproval), 112-1 (State of Louisiana Petitioners requesting stay of the Louisiana

SIP Disapproval). EPA moved to transfer the petitions for review filed by Texas



5
  The pre-publication version of the final FIP was released on March 15, 2023,
available in EPA’s website, https://www.epa.gov/system/files/documents/2023-
03/FRL%208670-02-OAR_Good%20Neighbor_Final_20230314_Signature_
ADMIN%20%281%29.pdf.

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petitioners, Louisiana petitioners, and Mississippi petitioners to the D.C. Circuit or

to dismiss the petitions for improper venue. See ECF No. 50-1.

       On May 1, 2023, this Court denied EPA’s motion to transfer or dismiss, and

granted the petitioners’ motions to stay the Texas and Louisiana SIP Disapprovals

pending judicial review. ECF No. 269-1. In granting the stay motions, this Court

found a likelihood of success on the merits “in two ways”:

       They (1) make a strong showing that the EPA acted unlawfully by
       considering factors listed nowhere in the CAA. And they (2) are likely
       to prevail on the claim that the EPA arbitrarily and capriciously based
       its Final SIP Denial in part on information only available after Texas
       and Louisiana had submitted their SIPs.

Id. at 14.

       The Court also found that Texas and Louisiana petitioners will be irreparably

harmed without a stay. The Court reasoned that the SIP Disapproval is “the statutory

prerequisite” for a FIP, which will “impose [EPA’s] preferred system of emissions

controls and reductions on the States,” and “many regulated entities have already

commenced compliance efforts or will soon be required to do so.” Id. at 22.

                          SUMMARY OF ARGUMENT

       The Clean Air Act reflects a fine-tuned division of power between the states

and the federal government. When Congress intended EPA to wield more power, it

made sure the text reflected so.




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      The Act’s Good Neighbor Provision, which requires states to ensure their

emissions do not “contribute significantly” or “interfere with maintenance” to

prevent   downwind      states   from   reaching     clean   air   status,   42    U.S.C.

§ 7410(a)(2)(D)(i), is one of the many provisions where Congress granted “primary

responsibility” to the states. See id. § 7401(a)(3). The plain text of the statute, and

all applicable case law interpreting it, indicate that so long as the state’s plan to

implement the Good Neighbor Provision facially complies with the statute, EPA

must approve it. See, e.g., Texas v. EPA, 690 F.3d 670, 676 (5th Cir. 2012) (“Thus,

if a SIP or a revised SIP meets the statutory criteria of the CAA, then the EPA must

approve it.”).

      The Louisiana Transport SIP facially complied with the statute. No statute or

regulatory provision defines what “contribute significantly” means, so states hold

greater leeway in developing SIPs that comply with this statutory obligation. LDEQ

developed a 3-step regulatory framework that even EPA admitted was “similar” to

what the Agency recommended to evaluate the significance of Louisiana

contributions. 87 Fed. Reg. at 9811.

      Moreover, LDEQ faithfully executed its 3-step framework. LDEQ adopted

models, data sets, and methodologies that EPA itself had approved, and in certain

cases asked for—such as a back trajectory analysis. And while LDEQ’s analysis

certainly identified modeled “contributions” to another state’s ozone pollution, a



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more nuanced, holistic analysis established that such contributions were not

“significant.” As one of many examples, LDEQ’s back trajectory analysis filtered

out areas that made no logical sense to be affecting another state’s air pollution

because those areas were rural and did not have emission sources that could affect

another state. All these approaches were rational, let alone statutorily acceptable.

This should have ended the matter.

      But rather than reviewing whether the Louisiana Transport SIP facially met

the statutory criteria, Luminant Generation Co. v. EPA, 675 F.3d 917, 921 (5th Cir.

2012) (finding EPA’s role in reviewing the SIPs as “ministerial”), EPA instead

imposed its own judgment. It insisted that its own 4-step framework was the only

correct regulatory approach. No part of that 4-step framework was part of the statute

or even a regulation concerning the CAA. This action alone violated the law.

      Furthermore, EPA’s Louisiana SIP Disapproval reflected multiple instances

of bait-and-switch. To start, EPA used new data that became available only after

states already had submitted their SIPs. EPA also brushed off LDEQ’s multi-factor

analysis (many factors of which were, at one point, sanctioned by EPA) by

mischaracterizing them, claiming that a particular factor “alone” was insufficient

despite LDEQ’s evaluation of the factors in tandem. And in doing so, EPA

effectively insisted on its 1% contribution threshold analysis as the end-all-be-all to

define “significant” contribution. But see Texas v. EPA, 983 F.3d 826, 839 (5th Cir.



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2020) (“The text of the [CAA] does not require EPA to adopt a one-percent

threshold.”); 82 Fed. Reg. 1733, 1740 (Jan. 6, 2017) (admitting in a prior rulemaking

that “there may be geographically specific factors to consider in determining

whether the 1 percent screening threshold is appropriate.”). Finally, EPA post hoc

rejected LDEQ’s back trajectory analysis, something EPA had asked LDEQ to

supplement. Such reversal was backed by little explanation, even when Louisiana

commenters asked for one. Any one of these actions warrant vacatur for meeting

the definition of “arbitrary and capricious.”

                             STANDARD OF REVIEW

       Under the CAA, courts invalidate EPA’s action if it is “arbitrary, capricious,

an abuse of discretion, or otherwise not in accordance with the law . . . in excess of

statutory jurisdiction, authority, or limitations, or short of statutory right; or without

observance of procedure required by law . . . .” Texas v. EPA, 829 F.3d at 425

(quoting 42 U.S.C. § 7607(d)(9)).

       “If EPA’s action is not permitted by the statute, [the Court] must overturn the

action.” Id. at 426 (citing 5 U.S.C. § 706(2)). An agency’s attempt to “graft”

additional requirements, not found in any statute, into its determinations also

amounts to an action “in excess of statutory authority.” See Luminant, 675 F.3d at

930.




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      EPA’s actions are also constrained by the federal Administrative Procedures

Act (“APA”). The APA directs courts to “hold unlawful and set aside agency

action[s]” that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law,” or “in excess of statutory jurisdiction, authority, or

limitations.” 5 U.S.C. § 706(2); see also Luminant, 675 F.3d at 925 (discussing how

the CAA standard of review “tracks” APA’s standard of review).

      “The APA’s arbitrary-and-capricious standard requires that agency action be

reasonable and reasonably explained.” FCC v. Prometheus Radio Project, 141 S. Ct.

1150, 1158 (2021). While judicial review under that standard is “deferential,” id.,

the Court must still address whether the agency “examined the relevant data and

articulate[s] a satisfactory explanation for its action including a rational connection

between the facts found and the choice made.” Motor Vehicle Mfrs. Ass’n of U.S.,

Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983) (quotation omitted).

This standard is “not toothless”; rather, “it has serious bite.” Data Mktg. P’ship, LP

v. U.S. Dep’t of Lab., 45 F.4th 846, 856 (5th Cir. 2022).

      A rule is arbitrary and capricious if the agency relied on “impermissible

factors, failed to consider important aspects of the problem, offered an explanation

for its decision that is contrary to the record evidence, or is so irrational that it could

not be attributed to a difference in opinion or the result of agency expertise.” BCCA

Appeal Grp. v. U.S. EPA, 355 F.3d 817, 824 (5th Cir. 2003).



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                                  ARGUMENT

I.    EPA Cannot Substitute Its Judgment in Lieu of the State’s Facial
      Compliance with the Clean Air Act’s Good Neighbor Provision.

      EPA’s role in reviewing the SIPs is “ministerial.” Luminant, 675 F.3d at 921.

The Agency must approve a SIP that meets all the CAA requirements. BCCA, 355

F.3d at 822 (citing 42 U.S.C. § 7410(k)(3)). After all, “the CAA imposes upon the

states the primary responsibility for ensuring that the ambient air meets the

NAAQS.” Id.

      EPA’s ministerial role over the SIP is a congressional mandate.              “The

structure of the Clean Air Act indicates a congressional preference that states, not

EPA, drive the regulatory process.” Texas v. EPA, 829 F.3d at 411; see also 42

U.S.C. § 7401(a)(3) (congressional finding on the “primary responsibility” of air

pollution prevention/control given to states). Congress structured the CAA in this

manner because it understood the benefits of cooperative federalism in executing

contextualized air quality controls across a diverse nation.6 “Disagreeing with

Congress’s expressly codified policy choices isn’t a luxury administrative agencies

enjoy.” Cent. United Life Ins. Co. v. Burwell, 827 F.3d 70, 73 (D.C. Cir. 2016).




6
 For judicial efficiency and pursuant to Rule 28(i) of the Federal Rules of Appellate
Procedure, the Louisiana Industry Petitioners join, adopt, and incorporate by
reference the State of Louisiana Petitioners’ arguments concerning cooperative
federalism’s role in the CAA.

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      The fact that the instant dispute concerns the CAA’s Good Neighbor Provision

makes no difference to EPA’s ministerial role over SIPs. Whereas EPA asserts that

the Good Neighbor Provision elevates the Agency’s role, see 88 Fed. Reg. at 9367

(“EPA does not, however, agree with . . . the EPA’s role in the state-Federal

relationship as being ‘secondary’ . . . such deference would be particularly

inappropriate in the context of addressing interstate pollution.”),7 there is no CAA

text supporting such a position. The Good Neighbor Provision does not even

reference federal oversight or interaction—let alone an expanded version thereof.

42 U.S.C. § 7410(a)(2)(D)(i). This contrasts with other parts of the CAA’s SIP

provisions, which explicitly allow EPA to establish the standards.            See id.

§ 7410(a)(2)(F) (discussing monitoring and reporting requirements for SIPs in

which the requirement “may be prescribed by the Administrator”). Given that

Congress has explicitly addressed in the SIP process when federal involvement is

allowed, by negative inference, federal involvement is impermissible in issues where

Congress was wholly silent, such as the Good Neighbor Provision. See generally

Antonin Scalia & Bryan A. Garner, Reading Law: The Interpretation of Legal Texts

107–11 (2012) (“The expression of one thing implies the exclusion of others”).



7
  See also id. at 9375 (“And the Agency is empowered to interpret those statutory
requirements and exercise both technical and policy judgment in acting on SIP
submissions. Indeed, the task for allocating responsibility for interstate pollution
particularly necessitates Federal involvement.”).

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      While it is true that the Good Neighbor Provision confers duties on the states

to address the effect of their emissions beyond their borders, this does not elevate

EPA’s role in its review of the state’s interstate transport SIP. The fact that a SIP

requirement might affect multiple states offers zero textual insights on whether the

federal government can play a larger role. Air quality control—by nature—presents

cross-border implications, yet Congress crafted a state-by-state approach unless

expressly stated otherwise. In turn, the legal standard in evaluating each SIP

requirement should stay the same.

      EPA cited the Supreme Court’s decision in EME Homer City Generation, L.P.

v. EPA, 572 U.S. 489 (2014), to support its position that “the task of allocating

responsibility for interstate pollution particularly necessitates Federal involvement,”

88 Fed. Reg. at 9375 (“EPA disagrees that it is obligated to defer to states’ choices

in the development of good neighbor SIP submissions.”). However, EME Homer

does not absolve EPA’s textually bankrupt position. EME Homer exclusively

governs EPA’s Federal Implementation Plans, not SIPs. Specifically, that case

merely held that once EPA disapproves a SIP, the Agency owes no duty to offer

another chance for states to file a SIP. See 572 U.S. at 508–09. Relatedly, only after

concluding that the FIP was triggered (due to uncontested SIP disapprovals) did the

Supreme Court deem permissible the FIP’s own approach to the Good Neighbor

Provision. See id. at 513–20.



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      Indeed, the case expressly disavowed the question this Court faces, which is

whether EPA’s SIP disapproval with respect to Louisiana was legitimate. Id. at 507

(“State respondents’ challenge is not that EPA’s disapproval of any particular SIP

was erroneous.”). Even when the Supreme Court was analyzing whether deference

to the FIP was appropriate, it took pains to clarify that such deference was coming

into play “only after a State has failed to propose a SIP adequate for compliance with

the provision is EPA called upon to act.” Id. at 514 n.15 (“Though we speak here of

‘EPA’s task,’ the Good Neighbor Provision is initially directed to upwind States.”).

      To the extent EME Homer is relevant at all, it favors petitioners for at least

two reasons. First, EME Homer confirms the observation above, supra page 20, that

Congress knows how to draft a statute when it deems federal involvement

permissible or necessary. 572 U.S. at 509–10 (“When Congress elected to make

EPA’s input a prerequisite to state action under the Act, it did so expressly. . . . Had

Congress intended similarly . . . [for] the Good Neighbor Provision, Congress, we

take it, would have included a similar direction in that section.”). In turn, when

certain SIP provisions reference EPA’s authority to set standards or establish

requirements, but the Good Neighbor Provision does not, compare 42 U.S.C.

§ 7410(a)(2)(F), with id. § 7410(a)(2)(D), the negative inference canon—as

acknowledged by EME Homer—informs us that EPA must keep to its ministerial

role when it faces interstate transport SIP submissions.



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      Second, EME Homer rejects EPA’s reading that the 1990 amendments to the

CAA (which included the Good Neighbor Provision) somehow displaced the Act’s

cooperative federalism framework. See 88 Fed. Reg. at 9367–68 (EPA claiming that

“the Train-Virginia line of cases . . . pre-date the CAA amendments of 1990”). EME

Homer affirmed that the 1990 amendments have no special bearing on interpreting

the statute. Rather, the Good Neighbor Provision, added in 1990, is on equal footing

as every other SIP requirement—including the ones that preceded the 1990

amendments. “Nothing in the Act differentiates the Good Neighbor Provision from

the several other matters a State must address in its SIP.” EME Homer, 572 U.S. at

509. By extension, the pre-1990 precedents that interpreted SIP requirements

continue to apply, and the Good Neighbor Provision is not entitled to special

treatment such as generating deference to EPA’s preferred policy judgments.8 Cf.

Texas v. EPA, 829 F.3d at 411–12 (applying the pre-1990 precedents referenced in

EPA’s SIP Disapproval to stay EPA’s disapproval of a different SIP which also

presented interstate implications).

      In conclusion, both the CAA’s text and numerous cases interpreting it—

including one on which EPA heavily relies—bar EPA from imposing its own




8
  The fact that EPA issued guidance and data to support the states in their
development of interstate transport SIPs also does not elevate EPA’s role in its
review of the SIPs. It is the states’ choice whether to rely on such guidance and data.

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judgment in place of what the states have developed to comply with the Good

Neighbor Provision.

II.   EPA Unlawfully Considered Factors Not Required by the Clean Air Act’s
      Good Neighbor Provision.

      As discussed above, the CAA does not define the terms “contribute

significantly” or “interfere with maintenance.” To the extent EPA wishes to seek

deference principles in a statutory interpretation dispute, the Agency must have

promulgated a regulatory provision that interpreted those terms in the first place.

See United States v. Mead Corp., 533 U.S. 218, 226–27 (2001) (discussing how

deference to an agency’s interpretation of a statute only applies if “Congress

delegated authority to the agency generally to make rules carrying the force of law,

and that the agency interpretation claiming deference was promulgated in the

exercise of that authority.”). To put it differently—with no statute or regulation

defining the terms “contribute significantly” or “interfere with maintenance,” EPA

cannot monopolize how to define those terms.

      Yet that is exactly what EPA sought by imposing its own methodology to

disapprove otherwise legitimate SIPs. “EPA used a 4-step interstate transport

framework (or 4-step framework) to evaluate each state’s [SIP] addressing the

interstate transportation requirements.” 88 Fed. Reg. at 9338. Even as EPA gave

lip service to alternative approaches such as the multi-factor analysis presented by

LDEQ, EPA proclaimed “that deviation from [this 4-step] approach to ozone


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transport must be substantially justified and have a well-documented technical

basis.” Id. at 9340. In doing so, EPA ignored LDEQ’s analysis of its emission

impacts on out-of-state monitors because Louisiana did not comply with the 4-step

analysis preferred by EPA. See id. at 9356.

      No part of this 4-step framework is codified in the CAA, let alone the Good

Neighbor Provision. Nor is such framework derived from any regulation that

attempts to define the words used in 42 U.S.C. § 7410(a)(2)(D)(i), “contribute

significantly to nonattainment in, or interfere with maintenance by, any other State.”

Surely EPA’s 4-step framework is a “permissible” way to effectuate the CAA’s

Good Neighbor Provision. See EME Homer, 572 U.S. at 524 (holding so in the FIP

context). But even EPA concedes “the statute’s silence on how nonattainment and

maintenance should be identified under the good neighbor provision.” 82 Fed. Reg.

9155, 9156 (Feb. 3, 2017); see also Louisiana Transport SIP, C.I. R6-04 at 21

(including EPA Region 6’s letter admitting that EPA’s modeling information is only

one of many factors and that it “does not address any other aspect of the methodology

for determination of significant impacts.”).

      Under such definitional vacuum, the State of Louisiana need not follow EPA’s

approach. Nor can EPA’s approach be the basis on which EPA evaluates and

disapproves a SIP. “Only the states enjoy discretion in implementing the dictates of

the CAA.” Luminant, 675 F.3d at 928 n.8. Thus, the only relevant question in this



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lawsuit is whether the Louisiana Transport SIP facially complies with the Good

Neighbor Provision—not through a filter EPA imposed.

III.   The Louisiana Transport SIP Was Rational, Followed EPA Guidance,
       and Cannot Be Rejected Merely Because EPA Favors Another Approach.

       The Louisiana Transport SIP addressed all the required statutory elements of

the Good Neighbor Provision. The SIP demonstrated that Louisiana emissions do

not: (1) “contribute significantly to nonattainment” of the 2015 Ozone NAAQS for

any other state, 42 U.S.C. § 7410(a)(2)(D)(i)(I); (2) “interfere with maintenance” of

that NAAQS in any other state, id.; (3) “interfere with measures required” to meet

an implementation plan for any other state to “prevent significant deterioration of air

quality,” id. § 7410(a)(2)(D)(i)(II); and (4) “interfere with measures required” to

meet the implementation plan for any other state “to protect visibility,” id. The

Louisiana Transport SIP also demonstrated compliance with the applicable

requirements of 42 U.S.C. §§ 7426 and 7415 “relating to interstate and international

pollution abatement.” Id. § 7410(a)(2)(D)(ii). The Louisiana Transport SIP met the

above requirements by implementing a 3-step framework, which incorporated data,

modeling, and methodologies all proffered by EPA.

       Starting with the 3-step framework, Louisiana Industry Petitioners reiterate

the position that SIPs could adopt their own regulatory framework that deviates from

EPA’s vision, so long as the framework facially complies with the Good Neighbor

Provision. But even if one operates under EPA’s 4-step framework, it is difficult to


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see how exactly the Louisiana Transport SIP’s 3-step framework differs from EPA’s.

The table below compares the two frameworks:

               EPA Steps                                 LDEQ Steps
Step 1: Identify monitoring sites that are Step 1: Identify monitors projected to be
projected to have problems attaining in nonattainment or have maintenance
and/or maintaining the NAAQS (i.e., issues in a future year.
nonattainment and/or maintenance
receptors).
                                           Step 2: Identify projected nonattainment
                                           and/or maintenance monitors in other
Step 2: Identify states that impact those states that might be impacted by
air quality problems in other (i.e., emissions from Louisiana, tagging them
downwind) states sufficiently such that for further review.
the states are considered “linked” and Step 3: Determine if emissions from
therefore warrant further review and Louisiana contribute significant to
analysis.                                  nonattainment or interfere with
                                           maintenance at the monitors tagged for
                                           review in Step 2.
Step 3: Identify the emissions
reductions necessary (if any), applying
                                           (Steps 3 and 4 of EPA’s framework
a multifactor analysis, to eliminate each
                                           become relevant only if LDEQ had
linked upwind state’s significant
                                           determined that Louisiana’s emissions
contribution to nonattainment or
                                           contributed “significantly” or interfered
interference with maintenance of the
                                           with maintenance per LDEQ’s Steps 1
NAAQS at the locations identified in
                                           to 3. With no such determination by
Step 1.
                                           Louisiana, no further analysis was
Step 4: Adopt the permanent and
                                           required.)
enforceable measures needed to achieve
those emissions reductions.

      Compare Louisiana Transport SIP, C.I. R6-04 at 11, with 88 Fed. Reg. at

9338. Even EPA’s proposed SIP Disapproval admitted that the two frameworks are

“similar.” See 87 Fed. Reg. at 9811 (“The LDEQ’s SIP submission provided an




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analysis of Louisiana’s air emissions impact to downwind states using a 3-Step

alternative framework similar to the EPA’s 4-Step framework.”).

      And in each step of LDEQ’s framework, the Louisiana Transport SIP

faithfully adopted the inputs that EPA itself had proffered. Thus, collectively,

LDEQ’s approach was a rational, acceptable means of complying with the Good

Neighbor Provision.

      A.     In Steps 1 and 2, LDEQ Followed a Rational, Acceptable Process
             to Screen for Potential Impacts on Downwind States.

      As the table above demonstrates, LDEQ’s Steps 1 and 2 are effectively the

same as EPA’s first two steps in the Agency’s own 4-step framework. Thus, at best,

the only genuine point of contention here is whether LDEQ faithfully executed those

steps. It did.

      At Step 1, LDEQ used the modeling provided by EPA (referenced in the

March 2018 Guidance, Appendix C to identify monitors projected to be in

nonattainment or problems with maintenance in the selected future year, 2023.

      At Step 2, LDEQ used the same EPA-provided modeling analysis to screen

which of the monitors selected in Step 1 were modeled to contribute more than 1%

of the NAAQS to evaluate those for a determination of whether Louisiana’s

contribution was projected to be significant or interfere with maintenance.

      The modeling used by LDEQ was provided in the March 2018 Guidance and

was specifically made available to “assist states’ efforts to develop good neighbor


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SIPs.” C.I. HQ-03 at 2. For LDEQ’s Step 2 purposes, the Agency’s March 2018

Guidance identified three monitors in the Houston/Galveston/Brazoria (“HGB”)

area, two monitors in the Dallas/Fort Worth (“DFW”) area, one monitor in

Michigan, and two monitors in Wisconsin as having potential impacts from

Louisiana. These projections were based upon a modeled impact in 2023 using a

screening value of 0.7 ppb, which represented 1% of the 2015 Ozone NAAQs. Id.

at C-1 to C-7 (Attachment C to the March 2018 Guidance).

      In August 2018, EPA issued further guidance to the states concerning the Step

2 evaluation of whether air quality impacts in downwind states are linked to

emissions from an upwind state. As discussed previously, supra pages 6–7, although

EPA had used 1% of the NAAQS as the screening level for “significant

contribution,” the August 2018 Guidance contained EPA’s evaluation of an

appropriate screening threshold among three options: 0.70 ppb (1% of the 2015

Ozone NAAQS), 1 ppb, or 2 ppb as a potentially significant contribution, based on

the absolute and relative amount of total upwind “collective contribution” captured

by each of these three alternative thresholds. The guidance concluded: “for the 2015

[O]zone NAAQS, the amount of upwind collective contribution captured using a 1

ppb threshold is generally comparable to the amount captured using a threshold

equivalent to 1 percent of the NAAQS.” August 2018 Guidance, C.I. HQ-04 at 4.




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      Relying on EPA’s representation in its own guidance, LDEQ applied the 1

ppb screening limit in performing Step 2 of its analysis. Based on the 1 ppb

screening value, the monitors in Michigan and Wisconsin were not flagged for

further analysis, since the EPA-modeled contributions from Louisiana sources at

those receptors in 2023 were projected to be less than 1 ppb.9

      And, as further reason to discount the Michigan and Wisconsin receptors, the

Louisiana Transport SIP noted: “the use of 1% of the NAAQS threshold for modeled

contribution as the sole definition of significant contribution is inappropriate for the

2015 [O]zone NAAQS since the more stringent 0.7 ppb threshold is an order of

magnitude smaller than the biases and errors typically documented for regional

photochemical modeling.” C.I. R6-04 at 12. Thus, it was reasonable for LDEQ to

rely on the August 2018 Guidance’s approval of the 1 ppb screening threshold to

exclude these locations from further analysis.

      B.     LDEQ’s Use of Air Quality Factors to Assess “Significant”
             Contribution at Step 3 Was Rational and in Line with EPA
             Guidance.

      With the Michigan and Wisconsin monitors excluded, the projected modeled

impacts from Louisiana to the DFW monitors were less than 2 ppb, and the impacts



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  Attachment C of the March 2018 Guidance, C.I. HQ-03 at C-1 to C-7, indicated
that the 2023 modeled projection for those monitors were as follows: 0.72 ppb for
Milwaukee, Wisconsin; 0.84 ppb for Sheboygan, Wisconsin; and 0.70 ppb for
Allegan, Michigan.

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to the HGB monitors were less than 5 ppb. Already, both these measurements were

small contributions to the 2015 Ozone NAAQS. And in determining whether such

contributions are “significant,” EPA repeatedly had acknowledged that a 1%

NAAQS contribution alone does not determine significant contribution, and that

other air quality factors should factor into such determination. See, e.g., 82 Fed.

Reg. at 1740 (EPA’s Notice of Data Availability, citing, in part, 81 Fed. Reg. 31,513

(May 19, 2016)) (admitting “there may be geographically specific factors to consider

in determining whether the 1 percent screening threshold is appropriate”); March

2018 Guidance, C.I. HQ-03 (permitting threshold flexibility); Louisiana Transport

SIP, C.I. R6-04 at 12.

      Thus, for Step 3—determining whether there was “significant” contribution—

LDEQ focused on assessing air quality factors in addition to the projected modeled

contributions that would inform the likelihood of significant contribution or

interference with the 2015 Ozone NAAQS compliance at the five DFW and HGB

monitors in Texas. Considering the imprecision inherent in the modeling, LDEQ

reasonably considered other air quality factors, including the ozone design value

trends within Louisiana, the ozone precursor trends within Louisiana, applicable

weather pattern analysis, wind rose information, a model developed by the National

Oceanic and Atmospheric Administration, and back trajectory analysis—all of

which tended to indicate that Louisiana emissions were not forming ozone within



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the state, were declining, and were not a consistent or persistent influence on the

DFW or HGB monitors. At least two of them warrant further attention.

             1.    Ozone Design Value Trends and Ozone Precursor Trends in
                   Louisiana are Declining

      When all factors were considered, the ozone design value information based

upon actual monitoring data from the Louisiana Transport SIP confirmed significant

declines in ozone formation throughout the state from 2002 to 2017 (the last year

for which certified data was available at the time of the SIP submittal):




Louisiana Transport SIP, Fig. 2.2.1, C.I. R6-04 at 8. For context, an “Ozone Design

Value” (“DV”) is the three-year average of the fourth highest ozone reading in each




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of the last three years, and is the value that is used to show compliance with the

NAAQS.

      EPA data available at the time the Agency acted on the SIP showed that the

Louisiana 2018–20 DVs had fallen to even lower levels than those included in the

Louisiana Transport SIP, confirming the state’s downward ozone trends. See 2010-

2020 Design Values, C.I. HQ-10, xlxs rows 547–71.

      Notably, the areas of Louisiana adjacent to Texas were among the lowest in

the state, both at the time of the Louisiana Transport SIP submittal (showing DVs

up to 2015-2017) and by 2018-2020, with the Shreveport area having a design value

of 60 and Lake Charles having a DV of 64. Id. While the fact that there were low

ozone values within Louisiana is not alone proof of lack of impact on Texas, such

low values are indicative that Louisiana sources are well controlled and not resulting

in ozone problems in the parishes along the western border with Texas.

      The Louisiana Transport SIP also presented trends in the inventory of

anthropogenic ozone precursor emissions to demonstrate that the primary ozone

precursors, nitrogen oxides (“NOx”) and volatile organic compound (“VOC”)

emissions decreased by 42% and 61% from 2005 to 2014, respectively, and that

point source NOx and VOC emissions decreased an additional 3% between 2014

and 2017. Louisiana Transport SIP, C.I. R6-04 at 9–10 (Section 2.3.1). This

information was presented to show that the decline in DVs was associated with the



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significant reductions in emissions within Louisiana over the relevant time period.

This adds to the weight of evidence illustrating that Louisiana’s ozone precursor

emissions are adequately controlled to prevent ozone issues within the state, and

likely within Texas as well.

             2.     It Was Appropriate for LDEQ to Use Back Trajectory
                    Analysis as Part of its Multi-Factor Analysis

      As explained previously, supra pages 7–8, a back trajectory analysis assists

in ruling out areas of a state that are clearly not significantly contributing to a

receptor, such as rural areas. Specifically, the Hybrid Single Particle Lagrangian

Integrated Trajectory (“HYSPLIT”) Model analyzes wind patterns backwards from

the affected monitors during high ozone events. Louisiana Transport SIP, C.I. R6-

04 at 3–5. Indeed, EPA provided feedback to LDEQ to make the analysis more

robust: “LDEQ’s back trajectory analysis can be strengthened by plotting the back

trajectories by one of the techniques above for the high ozone episodes. To facilitate

this analysis, we have attached an Air Quality System report for the highest ozone

concentrations at the nonattainment and maintenance monitors in Texas during the

base years.” Id. at 5.

      LDEQ took this advice and provided back trajectories for 99 ozone

exceedances at the three HGB and two DFW receptors linked to Louisiana that

occurred during the 2015–18 ozone seasons. Louisiana Transport SIP, C.I. R6-04 at

13–14 (Section 3.2). Specifically, for the days of ozone NAAQS exceedances at


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these five monitors during 2016, 2017, and 2018, LDEQ used the HYSPLIT Model

to illustrate backward trajectories for the air parcels present at the monitors when the

exceedances occurred. LDEQ also performed additional analysis to evaluate the

exceedances that revealed trajectories originating in or crossing Louisiana to include

Mixing Depth (in meters) and provide one trajectory for the beginning of each hour

of the daily eight-hour ozone exceedance for the exceedance to identify the areas of

the state most often impacting Texas monitor exceedances. Louisiana Transport

SIP, C.I., R6-04 at 29–321 (Appendix B).

      LDEQ’s HYSPLIT back trajectory analysis, using the data provided in the

March 2018 Guidance, showed that, on high ozone days in Texas at the receptors

identified, only 28% of the trajectories traveled in or through Louisiana. Of that

28%, only 8% originated in Louisiana.             Moreover, only 35% of that 28%

(approximately 10 trajectories in three years) originated in or crossed the

industrialized part of the state. A close review of the back trajectories on a monitor-

by-monitor basis is more revealing and shows that on the few days where the

monitors in Texas experienced high ozone, the air parcel travelling to that monitor

crossed only rural north to north central Louisiana.

      A monitor-by-monitor review over the three-year period is illuminating. The

back trajectories indicate that, for several of the monitors, there were years in which

there were no air parcels traveling over Louisiana on the high ozone days



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experienced at the monitor. Further, some of the high ozone days’ events were

outside of the May-September ozone season for which the models are designed.

And, as provided by LDEQ in its SIP, the days on which an air parcel originated

from Arkansas, Missouri, Oklahoma, or the Gulf of Mexico and passed over portions

of Louisiana, almost all passed only over the northwest portion of the state.

Louisiana Transport SIP, C.I. R6-04 at 29–321 (Appendix B).

      C.    LDEQ’s Multi-Factor Analysis Demonstrated that Louisiana
            Emissions Do Not “Significantly” Contribute to Nonattainment or
            Interfere with Maintenance of the 2015 Ozone NAAQS.

      To summarize, LDEQ reasonably relied upon the March 2018 Guidance to

identify potential linkages between Louisiana emission sources and potential

downwind receptors at Steps 1 and 2 of its analysis. Such screening resulted in

narrowing down potential linkages to two monitors in the DFW Area and three in

the HGB area.

      In Step 3, LDEQ analyzed several other factors affecting air quality. The

ozone design value trends within Louisiana confirmed that ozone formation in the

relevant areas were declining. The ozone precursor trends also demonstrated that

significant reductions in ozone precursors over nearly two decades occurred due to

enforceable measures imposed by both LDEQ and EPA. The wind rose analysis

showed that surface level wind direction was not predominantly from Louisiana to

Texas and that weather patterns generally do not show wind movement from



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Louisiana to Texas during most of the ozone season. Finally, the back trajectory

analysis pursuant to the HYSPLIT Model—a model on which EPA itself had

provided feedback during LDEQ’s draft SIP submission—indicated that wind

conditions capable of transporting Louisiana emissions existed only infrequently on

the high ozone days at these five monitors, and even then, seldom travelled over

industrialized areas of the state.

      All these factors, together with the very low modeled projections of ozone

contributions (less than 2 ppb for DFW and less than 5 ppb for HGB), supported

LDEQ’s conclusion that contributions of ozone from Louisiana to these five

monitors were insignificant.

IV.   EPA Acted Arbitrary and Capriciously in Disapproving the Louisiana
      Interstate Transport SIP.

      As discussed in the Standard of Review, supra pages 17–18, EPA’s actions

are constrained by the CAA and the APA, one of the constraints being that an agency

action cannot be arbitrary and capricious.

      Even accounting for the deferential standard, EPA’s complete about-face on

data/model selection, and the Agency’s insistence on its own 4-step methodology

would be considered arbitrary and capricious since the Agency relied on

“impermissible factors, failed to consider important aspects of the problem, offered

an explanation for its decision that is contrary to the record evidence, or is so




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irrational that it could not be attributed to a difference in opinion or the result of

agency expertise.” BCCA, 355 F.3d at 824.

      A.     EPA Disapproved the SIP on a Modeling Platform Only Available
             Long After Louisiana Submitted its SIP.

      EPA proffered the March 2018 Guidance to assist states in preparing their

Good Neighbor SIPs. The guidance was based on the Comprehensive Air Quality

Model with Extensions version 6.4 (“CAMx v6.40”). According to EPA:

      EPA used outputs from the 2011 and 2023 model simulations to project
      base period 2009-2013 average and maximum ozone design values to
      2023 at monitoring sites nationwide. [Footnote 8:] For the updated
      modeling, EPA used the construct of the modeling platform (i.e.,
      modeling domain and non-emissions inputs) that [it] used for
      [modeling previously made public in a 2017 Notice of Data
      Availability], except that the photolysis rates files were updated to be
      consistent with CAMx v6.40.

March 2018 Guidance, C.I. HQ-03 at 4.

      Soon, the Agency flip-flopped. In proposing to disapprove the Louisiana

Transport SIP, EPA used the 2016v2 platform.              In its final Louisiana SIP

Disapproval, EPA used the 2016v3 platform. This Court has already expressed its

concerns:

      [EPA] relied upon various significant changes to its modeling data that
      it adopted long after the statutory deadline. See Final SIP Denial at
      9,366 (the “meteorology and boundary conditions used in modeling”
      became available in November 2020, the “updated emissions inventory
      files used in the current modeling were publicly released” in September
      2021, and the modeling software the EPA used was not public until
      December 2020).



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ECF No. 269-1 at 19–20 (Stay Order).

      These changes were no trivial matter; it fundamentally altered LDEQ’s Step

1 and 2 analyses. Whereas the Louisiana Transport SIP identified three HGB

monitors and two DFW monitors, the final Louisiana SIP Disapproval identified two

nonattainment monitors and four maintenance monitors in HGB, and one

maintenance monitor in DFW.       The following table illustrates the significant

variability in the results from the modeling approaches with respect to the Texas

monitoring receptors:10

                March 2018 Guidance           2016v2                      2016v3
 Monitor        Status Contribution    Status Contribution         Status Contribution
                       2023 in ppb            2023 in ppb                 2023 in ppb
 Harris Co.
                 N         3.06           N           4.31           N          4.75
 Aldine
 Harris Co.
                 N         4.72           A                          A
 Durant St.
 Harris-E.       A                        M           4.93           M          5.62
 Harris Co.
                 A                        M           4.84           M          5.44
 Clinton
 Harris Co.
                 A                        M           5.09           M          4.87
 Park Pl.
 Harris Co.
                 A                        N           5.39           N          5.49
 Bayland
 Brazoria Co.
                 N         3.80           M           7.03           M          5.21
 Croix Pkwy.
 Galveston       A                        A                          N          9.51
 Denton Co.
                 N         1.92           M           3.22           M          2.87
 Airport



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  The labels in the “Status” column mean the following: “A” = attainment; “N” =
nonattainment; and “M” = maintenance only. The information was compiled from
the following sources: Louisiana Transport SIP, C.I. R6-04 at 13–14 (Section 3.2);
March 2018 Guidance, C.I. HQ-03 at C2 (Appendix C); C.I. HQ-12 (2016v1 DVs
State Contributions); C.I. HQ-70 (2016v3 DVs State Contributions).

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                March 2018 Guidance               2016v2                 2016v3
 Tarrant FAA
                  N          1.71          A                       A
 Alta Vista



      EPA’s bait-and-switch makes it impossible for a state to prepare an

approvable SIP. The five new receptors in the HGB area were not identified as

linked receptors in the previous modeling relied upon in the Louisiana Transport

SIP. Such a moving target undermines Louisiana’s right to develop its own SIP,

because the state was never given the opportunity to address any other monitors

indicated as being linked to Louisiana in the 2016v2 or 2016v3 modeling, nor the

opportunity to evaluate the changed magnitude in contributions.

      EPA’s rejection of a SIP that was based on the Agency’s own formal guidance

explicitly intended to “assist states’ efforts to develop good neighbor SIPs,” March

2018 Guidance, C.I. HQ-03 at 2, constitutes a “clear error of judgment.” ECF No.

269-1 at 20 (Stay Order) (citing Univ. of Tex. M.D. Anderson Cancer Ctr. v. HHS,

985 F.3d 472, 475 (5th Cir. 2021)). At minimum, such “surprise switcheroo,” id.

(quoting Env’t Integrity Project v. EPA, 425 F.3d 992, 996 (D.C. Cir. 2005)

(Sentelle, J.); Azar v. Allina Health Servs., 139 S. Ct. 1804, 1810 (2019)), is arbitrary

and capricious because it undermines the reliance a state placed on a federal agency’s

own guidance.

      Nor can EPA in good faith defend that it was merely using the most accurate,

up-to-date data. EPA did not change the modeling platform in response to requests


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by states to do so to assist them with their Good Neighbor SIP submittals or due to

comments on the SIPs. Rather, the Agency changed modeling platforms long after

the SIP submittals were due, with no prior warning to the states and no finding that

the March 2018 Guidance was deficient in any regard. As this Court stated, “it was

nevertheless arbitrary and capricious of the EPA to do so without giving due

consideration to the reliance the EPA itself had engendered by publishing guidance

and data that—in its words— was designed ‘to assist [S]tates’ efforts to develop

[G]ood [N]eighbor SIPs for the 2015 ozone NAAQS.’” ECF No. 269-1 at 20 (Stay

Order) (alterations in original) (quoting March 2018 Guidance, C.I. HQ-03 at 1–2).

      True, EPA was not required to issue such guidance and modeling to the states;

the Agency did so to assist the states’ SIP preparations. At the same time, EPA

encouraged the states to use the modeling provided with its guidance. Moreover,

the modeling sets the foundation for all screenings of potential sources that

contribute, and all subsequent evaluations on whether such contributions were

significant or interfered with maintenance. “[W]hen the EPA does issue such

guidance and modeling data—like it did in March 2018—it must take due account

of the State’s ‘serious reliance interests’ before ‘chang[ing] course.’” Id. at 20–21

(citing DHS v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1913 (2020); Encino

Motorcars, LLC v. Navarro, 579 U.S. 211, 222 (2016)). Thus, as this Court has




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already signaled, EPA’s failure to even consider the states’ reliance interests would

be arbitrary and capricious.

      B.     EPA Unduly Rejected the Weight of Evidence Adopted by
             Louisiana.

      Agency action is lawful only if it rests on a consideration of the relevant

factors and must be set aside if it fails to account for those factors or evinces a clear

error in judgment. Anderson Cancer Ctr., 985 F.3d at 475 (citing Marsh v. Or. Nat.

Res. Council, 490 U.S. 360, 378 (1989)). EPA’s Louisiana SIP Disapproval was

arbitrary and capricious because the Agency considered factors wholly outside of

the CAA or its implementing regulations in rejecting the weight of evidence adopted

by LDEQ.

      The Agency erred in at least two ways. First, EPA insisted on the 1%

screening modeling as the definitive standard—without any statutory basis for doing

so—and rejected LDEQ’s evidence under a “divide-and-conquer” approach,

ignoring the totality of evidence articulated in the SIP. Second, EPA rejected

Louisiana’s back trajectory analysis with no understandable explanation. Either

constitutes “clear error of judgment.”

             1.     EPA Piecemeal Rejected the Evidence

      To repeat, neither the CAA nor its implementing regulations defines what

would constitute a “significant” contribution. “The text of the [CAA] does not

require EPA to adopt a one-percent threshold.” Texas v. EPA, 983 F.3d at 839. In


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turn, under such definitional vacuum on what should be considered “significant,”

the 1 ppb (or 1%) threshold should be a screening value used as a starting point for

state analysis, not a presumption that the state has the burden of proof to overcome.

      To put it differently—it is well accepted that photochemical air modeling can

be used to “screen” for potential significant impact. See EME Homer, 572 U.S. at

500 (“At step one, called the ‘screening’ analysis, the Agency excluded as de

minimis any upwind State that contributed less than one percent of the . . . NAAQS[]

to any downwind State ‘receptor . . . .’”). However, such does not require a

determination that anything that is not “de minimis” is presumed to be “significant.”

No codified law requires so.

      Yet that is effectively what EPA imposed on the states when the Agency relied

exclusively (or nearly exclusively) on modeled projections of a 1% contribution as

being the determinative factor for showing “significant contribution.” While EPA

may use that approach to develop a FIP, it would be arbitrary and capricious for EPA

to base final decisions of significant contribution only or even primarily on such

modeled projections without giving due regard to other air quality factors presented

by the states in their SIPs.

      This is pragmatically true especially because the models are complex, and

thus nuance is required. The photochemical modeling resulting in the projection of

part per billion impacts at distant monitors requires a complex development process



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involving dozens, if not hundreds, of inputs (some of which are based on actual data

and others on estimates or assumptions). As a necessary precursor to modeling, EPA

first develops an “inventory” of all pollutant emissions that contribute to or impact

ozone formation (VOC, NOx, etc. for the “baseline year”) and a projected inventory

for the future year by which ozone attainment is required (in this case 2023, the

deadline for moderate areas to achieve attainment). Each inventory is comprised of

multiple sub-inventories including emission estimates for Electric Generating Units

(EGUs), non-EGU point sources, stationary nonpoint sources, on-road mobile

sources, nonroad mobile sources (such as locomotives, commercial and recreational

marine vessels), wildfires (both planned and unplanned) and biogenic (non-human)

sources. Each sub-inventory contains a myriad of assumptions (such as population

growth, vehicle miles traveled estimates, paint and solvent usage) with default data

used where actual data is not available (for example default stack heights for certain

types of point sources). See Technical Support Document, Preparation of Emissions

Inventories for the 2016v1 North American Emissions Modeling Platform, C.I. HQ-

07 at 12–19. The emission inventories are then processed through the most recent

version of the Sparse Matrix Operator Kernel Emissions (“SMOKE”) Modeling

System to produce the gridded, hourly, speciated, model ready emissions for input

to the CAMx air quality model that is used for the modeling. Id.




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      Ironically, EPA at one point recognized the value of accounting for factors

other than the 1% threshold in evaluating SIPs:

      [S]tates may supplement the information provided in this memorandum
      with any additional information that they believe is relevant to
      addressing the good neighbor provision requirements. States may also
      choose to use information different from that provided in this document
      or on the EPA’s website to identify nonattainment and maintenance
      receptors relevant to development of their good neighbor SIPs. If this
      is the case, states should submit that information along with a full
      explanation and technical analysis for the EPA’s evaluation.

Stephen Page, Director, Office of Air Quality Planning and Standards, Supplemental

Information on the Interstate Transport State Implementation Plan Submissions for

the 2008 Ozone National Ambient Air Quality Standards Under the Clean Air Act

Section 110(a)(2)(D)(i)(I) (Oct. 27, 2017), C.I. HQ-02 at 9–10.

      And, as discussed above, Louisiana used such modeling to screen potential

linkages from Louisiana to downwind states and identified three potential linkages

for HGB and two for DFW—all with modeled contributions in the low ppb range.

Louisiana then submitted additional information relevant to the determination of

significant contribution or interference with maintenance consisting of ozone design

value trends, ozone precursor reduction trends, weather pattern analysis, wind rose

analysis, and back trajectories specific to the five receptors identified from the

screening analysis.

      EPA’s Response to Comments makes plain that all of this nuanced approach

that LDEQ had crafted was for naught:


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      The EPA disagrees that the overall emissions trends or the lack of
      nonattainment areas in a state, alone, can serve as an adequate basis for
      determining whether a state contributes significantly to downwind
      receptors in other states. . . . Neither the state or other commenters
      supplied information that there were such a degree of additional
      reductions that EPA had not already characterized in the 2023 modeling
      that would result in changes to the impacts from Louisiana’s emissions,
      such that the state would not be linked to receptors in Texas. Nor did
      the state supply a satisfactory Step 3 analysis regarding its continuing
      emissions.

C.I. HQ-83 at 341–42 (emphasis added). Contrary to EPA’s characterization, those

were not the only factors submitted, but were included along with discussions of

weather patterns, wind rose patterns, and back trajectory analysis. EPA arbitrarily

treated such factors in isolation rather than consistent with Louisiana’s weight-of-

evidence approach.

             2.     EPA Had no Basis to Reject the Back Trajectory Analysis

      EPA’s post hoc rejection of the back trajectory analysis is equally puzzling.

Although EPA’s comments to LDEQ on its draft SIP suggested that LDEQ conduct

back trajectory analysis to strengthen its SIP, in the final Louisiana SIP Disapproval,

EPA opposed use of the HYSPLIT back trajectory analysis. RTC, C.I. HQ-83 at

363–65. According to EPA, back trajectory analysis is a corollary analysis along

with observation-based meteorological wind fields at multiple heights to examine

the general plausibility of the photochemical model linkages. But then, in its final

Louisiana SIP Disapproval, EPA complained that the use of back trajectories does




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not quantitatively evaluate the magnitude of the existing photochemical

contributions. And, in its Response to Comments, EPA expressed:

      The EPA does not believe that HYSPLIT analyses are sufficient to
      determine significant contribution because HYSPLIT trajectory
      analyses, as run by LDEQ, do not provide any quantitative measure of
      contribution . . . . Quantitative contributions are necessary to evaluate
      the magnitude of an upwind state’s contribution to downwind receptors
      with respect to the 1 percent of the NAAQS screening threshold used
      in Step 2 of the 4-step interstate transport framework. As noted in the
      proposal (87 FR 9815) HYSPLIT does not account for air pollution
      formation from emissions of pre-cursors (NOx and VOC emissions
      react to form ozone for example), dispersion, transformation, or
      removal processes as influenced by chemistry, deposition, etc., so the
      trajectories cannot be used to develop quantitative amounts for how
      much ozone was formed at the downwind receptor from emissions of
      pre-cursors in the state of Louisiana. The commenter failed to provide
      any rationale or methodologies explaining how trajectory analyses can
      be used alone to determine significant contribution.

Id. at 363 (emphasis added).

      Again, EPA is viewing the Louisiana Transport SIP submittal on a piecemeal

basis. Louisiana did not use back trajectory analysis alone. EPA’s own Response

to Comments suggests that such analysis can be used as part of a multi-factor

analysis. Yet, EPA did not explain why the HYSPLIT analysis submitted by LDEQ

cannot be relied upon as part of a multi-factor analysis to show that there are clearly

areas of the state that are not contributing to ozone issues in Texas or are doing so

only rarely. Even worse, EPA never responded to the Louisiana State or Industry

Petitioners’ comments concerning the rural, nonindustrial nature of the areas of the

state over which nearly all of the trajectories over Louisiana to one of the five target

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monitors were linked. Where the inventories used in the modeling show that most

of the emissions originate from the non-contributing areas of the state, this casts

doubt on the plausibility of the photochemical modeling linkages in which EPA

placed so much stock.

      Further, EPA’s after-the-fact assertion that this modeling is irrelevant to

significant contribution analysis was not raised during preproposal consultation or

the comment period for the SIP. In fact, the HYSPLIT analysis does provide

meaningful insight as to whether the potential linkages identified by CAMx

modeling are consistent and persistent, thus providing an important lens by which to

evaluate the CAMx predictions. EPA’s CAMx modeling only reviewed five to ten

ozone days, whereas the LDEQ’s HYSPLIT analysis evaluated ninety-nine elevated

ozone days over the course of a three-year period. And, once again EPA is treating

the CAMx results of predicted significance as an irrefutable presumption rather than

considering the back trajectory data in the context of other air quality factors

presented by LDEQ.




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                                CONCLUSION

      For the above reasons, EPA’s Louisiana SIP Disapproval, 88 Fed. Reg. 9336,

9356 (Feb. 13, 2023), should be vacated.



Dated:        May 30, 2023                      Respectfully submitted,



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